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                                        CLERK’S MINUTE SHEET
                            IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                    Before the Honorable Jerry H. Ritter

                                           Show Cause/Detention

Case Number:         19mj1077                          UNITED STATES vs. Archuleta

Hearing Date:        6/18/2019                         Time In and Out:         10:05 am -10:25 am

Clerk:               C. Lopez                          Courtroom:               Rio Grande

Defendant:           Daniel Archuleta                  Defendant’s Counsel:     Michael Davis

AUSA                 Kristopher Houghton               Pretrial/Probation:      Anthony Carter

Interpreter:
Initial Appearance
☐       Defendant sworn

☐       Defendant received a copy of charging document

☐       Court advises defendant(s) of possible penalties and all constitutional rights

☐       Defendant

☐       Government moves to detain                      ☐      Government does not recommend detention

☐       Set for                                        on                            @
Preliminary/Show Cause/Identity
☐       Defendant

☐       Court finds probable cause                      ☐      Court does not find probable cause
Custody Status
☐       Defendant waives detention hearing
        Defendant remanded to custody of United
☒
        States Marshal's Service
☐       Conditions
Other
☐       Matter referred to      for final revocation hearing

☐
